Case 3:17-cv-00765-SMY-MAB Document 101 Filed 06/07/19 Page 1 of 4 Page ID #735



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS


   UNITED STATES OF AMERICA, et al.,              )
   ex rel. CIMZNHCA, LLC,                         )
                                                  )
                         Plaintiff,               )
                                                  )   Case No. 17-cv-765 –SMY-MAB
   vs.                                            )
                                                  )
   UCB, INC., RXC ACQUISITION                     )
   COMPANY d/b/a RX CROSSROADS,                   )
   OMNICARE, INC., and                            )
   CVS HEALTH CORPORATION,                        )
                                                  )
                         Defendants.              )


                             MEMORANDUM AND ORDER

  YANDLE, District Judge:

         This matter is before the Court for consideration of the United States of America's (the

  "Government") Motion to Alter Judgment (Doc. 85). The Government, arguing the Court

  misapplied the Ninth Circuit's decision in United States ex rel. Sequoia Orange Co. v. Baird-

  Neece Packing Corp., 151 F.3d 1139 (9th Cir. 1998), seeks reconsideration of the Court's

  Order denying its Motion to Dismiss (Doc. 83). Relator filed a Response in opposition to the

  Motion (Doc. 86).

         F.R.C.P. 59(e) provides a basis for relief when a party challenges the Court’s

  application of the law to the facts of the case. See Osterneck v. Ernst & Whinney, 489 U.S.

  169, 174-76 (1989). A Rule 59(e) motion will be granted upon a showing of either evidence

  in the record that clearly establishes a manifest error of law or fact or newly discovered




                                            Page 1 of 4
Case 3:17-cv-00765-SMY-MAB Document 101 Filed 06/07/19 Page 2 of 4 Page ID #736



  evidence not previously available. Sigsworth v. City of Aurora, Ill., 487 F.3d 506, 511-12 (7th

  Cir. 2007); Romo v. Gulf Stream Coach, Inc., 250 F.3d 1119, 1121 n.3 (7th Cir. 2001).

         “Manifest error” is not demonstrated merely by the disappointment of the losing party.

  Sedrak v. Callahan, 987 F.Supp. 1063, 1069 (N.D. Ill. 1997). Rather, it is a court’s “wholesale

  disregard, misapplication, or failure to recognize controlling precedent.” Id. The Government

  contends this Court misapplied Sequoia Orange by evaluating the Government’s stated

  reasons for dismissal rather than simply accepting them. This argument, however, is premised

  on the standard adopted by the D.C. Circuit Court in Swift v. United States, 318 F.3d 250, 252

  (2003) – a standard this Court has rejected.

         Under Sequoia Orange, courts do not blindly accept the Government’s stated reasons

  for dismissal, but instead, conduct a judicial a limited judicial review to ensure the

  Government’s decision to dismiss is not fraudulent, arbitrary or an abuse of power. The

  appropriate analysis involves a determination of the existence of a valid governmental purpose

  and a rational relationship between dismissal and the accomplishment of that purpose. Sequoia

  Orange Co., 151 F.3d at 1145.

         Here, the Government asserted that its move to dismiss was rationally related to its

  legitimate interest in avoiding the expenditure of substantial resources on a case it believes to

  be without merit and contrary to important policy prerogatives of its healthcare programs. The

  Government’s claim that it reached this conclusion after having conducted an extensive

  investigation was belied by the parties’ briefing and the evidence adduced during the

  evidentiary hearing, which showed that while the Government collectively and generally

  investigated the eleven qui tam cases filed by the Relator, its investigation into the claims



                                             Page 2 of 4
Case 3:17-cv-00765-SMY-MAB Document 101 Filed 06/07/19 Page 3 of 4 Page ID #737



  specifically asserted in this case was minimal and it conducted no meaningful cost-benefit

  analysis.

         Nevertheless, the Government argues that this Court “…erred in substituting its

  judgment for the government’s in determining how the government should apply its limited

  resources, and in concluding that the government needed to conduct further investigation before

  seeking to dismiss this action to preserve those resources.” (Doc. 85, pp.2-3). But this is an

  inaccurate depiction of the review the Court actually conducted. The Court did not concern

  itself with how the Government expends its resources. Rather, consistent with Sequoia Orange,

  it tested the Government's stated reasons for seeking dismissal against the facts and evidence

  presented and concluded that the record simply did not support a rational relationship between

  the Government's identified cost and policy considerations and dismissal of this qui tam action.

         There is also no newly discovered evidence supporting the Government’s Motion. The

  consideration of newly discovered evidence requires a showing by the moving party that it did

  not know and reasonably could not have discovered with reasonable diligence the evidence

  proffered. See Caisse Nationale de Credit Agricole v. CBI Industries, Inc., 90 F.3d 1264, 1269

  (7th Cir. 1996). Apparently recognizing its failure to satisfy the Sequoia Orange standard, the

  Government attached additional exhibits to its Motion – two Declarations by Department of

  Justice Attorneys and the Settlement Agreement from an unrelated qui tam action against Novo

  Nordisk (Docs. 85-1, 85-2). The information contained in these exhibits was obviously

  available to the Government prior to this Court’s ruling on the Motion to Dismiss. As such, it

  does not constitute newly discovered evidence and may not be properly considered at this

  juncture.



                                            Page 3 of 4
Case 3:17-cv-00765-SMY-MAB Document 101 Filed 06/07/19 Page 4 of 4 Page ID #738



         For the foregoing reasons, this Court is satisfied that it made no errors of law or fact

  and that its ruling denying the Government's Motion to Dismiss is correct. Accordingly, the

  Motion to Alter Judgment (Doc. 85) is DENIED in its entirety.

         IT IS SO ORDERED.

         DATED: June 7, 2019




                                                     STACI M. YANDLE
                                                     United States District Judge




                                            Page 4 of 4
